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                                  UNITED STATES DISTRICT COURT
                                  SOUTHERN DISTRICT OF FLORIDA

                                    CASE NO._________________

 JOHN PEREZ,

                 Plaintiff,

 vs.

 ANDRE PEST CONTROL, LLC,
 a Florida corporation, and MARIA
 MAR, individually,

             Defendants.
 ________________________________________/

                                            COMPLAINT

         Plaintiff, JOHN PEREZ, by and through undersigned counsel, sues the Defendants, ANDRE

 PEST CONTROL, LLC, (hereinafter, “Company”), and MARIA MAR, individually, (hereinafter,

 collectively referred to as “Defendants”) and alleges as follows:

         1.      Plaintiff, a former employee of the Defendants, brings this action to recover

 compensation and other relief under the Fair Labor Standards Act, as amended (the "FLSA"), 29

 U.S.C. § 201 et seq.

         2.      Jurisdiction is conferred on this Court by 29 U.S.C. § 216(b).

         3.      The unlawful employment practices alleged herein occurred and/or were committed

 within this judicial district.

         4.      At all times material hereto, Plaintiff is/was a resident of this judicial district, an

 employee of the Defendants, sui juris and otherwise within the jurisdiction of this Court.
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         5.      At all times material hereto, Defendant, Company, was the employer or former

 employer of the Plaintiff and is conducting business in this judicial district and is otherwise an

 ‘employer’ under the FLSA.

         6.      That at all times material hereto, Defendant, MARIA MAR, individually, acted

 directly in the interests of his employer, the Defendant, Company, in relation to the Plaintiff, and this

 individual Defendant exercised the requisite legal control and otherwise administered the illegal acts

 as described herein on behalf of the Defendant, Company, and is otherwise an ‘employer’ under the

 FLSA.

         7.      At all times material hereto, Defendants were and continue to be an ‘enterprise

 engaged in commerce’ within the meaning of the FLSA.

         8.      That at all times material hereto, Plaintiff was ‘engaged in commerce’ within the

 meaning of the FLSA.

         9.      Defendants have been at all times material engaged in interstate commerce, and

 Defendants’ annual gross revenues derived from this interstate commerce, upon information and

 belief, are in excess of $500,000.00 for the relevant time period.

         10.     The Plaintiff was hired as a non-exempt employee by the Defendants.

         11.     During his employment, the Defendants however had Plaintiff, a non-exempt

 employee under the FLSA, work in excess of forty (40) hours per work week, but willfully refused

 to properly compensate Plaintiff for such work in violation of the FLSA.

         12.     Rather, Defendants had Plaintiff work for $600.00 per week, while Plaintiff was

 working 48-hour work weeks, with no payment for the wages and overtime for eight hours of

 overtime each week.



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          13.    Calculating Plaintiff’s regular rate at $15.00 per hour, Defendants owe Plaintiff one

 and one-half his regular rate of pay ($22.50) for those 8 additional hours, which totals $180 per

 week, and $18,720.00 over the two year statute of limitations.

                                            COUNT I
                                         FLSA - COMPANY

          Plaintiff incorporates by reference the allegations contained in paragraphs 1 through 13

 above.

          14.    Plaintiff is entitled to time and one half for each hour worked in excess of forty (40)

 hours per work week pursuant to the FLSA.

          15.    By reason of the intentional, willful and unlawful acts of the Defendant, Company in

 violation of the FLSA, Plaintiff has suffered damages.

          WHEREFORE, Plaintiff demands judgment against the Defendant, Company for all

 damages and relief under the FLSA, including liquidated damages (and/or pre-judgment interest),

 attorneys’ fees, costs and expenses, in addition to all other relief this Court deems just and proper.

                                            COUNT II
                                        FLSA–MARIA MAR

          Plaintiff incorporates by reference the allegations contained in paragraphs 1 through 13 of

 this Complaint.

          16.    Plaintiff is entitled to time and one half for each hour worked in excess of forty (40)

 hours per work week pursuant to the FLSA.

          17.    By reason of the intentional, willful and unlawful acts of the Defendant, MARIA

 MAR in violation of the FLSA, Plaintiff has suffered damages.




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        WHEREFORE, Plaintiff demands judgment against the Defendant, MARIA MAR for all

 damages and relief under the FLSA, including liquidated damages (and/or pre-judgment interest),

 attorneys’ fees, costs and expenses, in addition to all other relief this Court deems just and proper.

                                      DEMAND FOR JURY TRIAL

        Plaintiff demands a trial by jury on all counts.

        Dated: October 21, 2019.                       Respectfully submitted,

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